                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                                   Case No. 23-CR-69

JAIDEN HENNING,

                              Defendant.



                                     PLEA AGREEMENT



      1.       The United States of America, by its attorneys, Gregory J. Haanstad, United States

Attorney for the Eastern District of Wisconsin, and Patricia Daugherty, Assistant United States

Attorney, and the defendant, Jaiden Henning, individually and by attorney Matthew Ricci,

pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following plea

agreement:

                                           CHARGES

      2.       The defendant has been charged in five counts of a thirty-one count indictment,

which alleges violations of Title 21 United States Code, Sections 846, 841(b)(1)(A), 841(b)(1)(B),

and 841(b)(1)(C), and Title 18 United States Code, Sections 2(a), 922(o), 924(a)(2), and 933(a)(1).

      3.       The defendant has read and fully understands the charges contained in the

indictment. He fully understands the nature and elements of the crimes with which he has been

charged, and those charges and the terms and conditions of the plea agreement have been fully

explained to him by his attorney.




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       4.          The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:

                                             COUNT NINE

        THE GRAND JURY FURTHER CHARGES THAT:

        On or about September 12, 2022, in the State and Eastern District of Wisconsin,

                                  AZJUAN K. MERIWETHER and
                                      JAIDEN A. HENNING

did knowingly conspire and agree with each other, and others, known and unknown to the Grand

Jury, to ship, transport, transfer, cause to be transported, and otherwise dispose of a firearm, that

is, a machinegun-conversion device, to another person, in and affecting interstate commerce,

knowing and having reasonable cause to believe that the use, carrying, and possession of a

machinegun-conversion device by the recipient would constitute a felony, as defined in section

932(a)).

        In violation of Title 18, United States Code, Sections 933(a)(1) and 2(a).

       5.          The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offense described in paragraph 4. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the facts in Attachment A beyond

a reasonable doubt. The defendant admits that the facts in Attachment A are true and correct and

establish his guilt beyond a reasonable doubt. This information is provided for the purpose of

setting forth a factual basis for the plea of guilty. It is not a full recitation of the defendant’s

knowledge of, or participation in, this offense.

                                              PENALTIES

       6.          The parties understand and agree that the offense to which the defendant will enter

a plea of guilty carries the following maximum term of imprisonment and fine: up to 15 years and

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$250,000. Said count also carries a mandatory special assessment of $100, and a maximum of

three years of supervised release.

      7.       The defendant acknowledges, understands, and agrees that he has discussed the

relevant statutes as well as the applicable sentencing guidelines with his attorney.

                           DISMISSAL OF REMAINING COUNTS

      8.       The government agrees to move to dismiss the remaining counts of the indictment

as to this defendant at the time of sentencing.

                                           ELEMENTS

      9.       The parties understand and agree that in order to sustain the charge of Firearm

Trafficking, as set forth in Count Nine, the government must prove each of the following

propositions beyond a reasonable doubt:

   First: The defendant knowingly shipped, transported, transferred, caused to be transported or
   disposed of a firearm that is a machinegun-conversion device, to another person;

   Second: The shipping, transporting, transferring, causing to be transported or disposition of
   the firearm was in or otherwise affecting interstate commerce; and

   Third: The defendant knew or had reasonable cause to believe that the use, carrying or
   possession of the firearm that is a machinegun-conversion device by the other person/recipient
   would constitute a state or federal felony.

                                 SENTENCING PROVISIONS

      10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days before

the sentencing hearing, in favor of a schedule for disclosure, and the filing of any objections, to be

established by the court at the change of plea hearing.




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      11.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to the

Sentencing Guidelines when sentencing the defendant.

      12.      The parties acknowledge and agree that they have discussed all of the sentencing

guidelines provisions which they believe to be applicable to the offense set forth in paragraph 4.

The defendant acknowledges and agrees that his attorney in turn has discussed the applicable

sentencing guidelines provisions with him to the defendant’s satisfaction.

      13.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant’s criminal history. The parties

further acknowledge and understand that, at the time the defendant enters a guilty plea, the parties

may not have full and complete information regarding the defendant’s criminal history. The parties

acknowledge, understand, and agree that the defendant may not move to withdraw the guilty plea

solely as a result of the sentencing court’s determination of the defendant’s criminal history.

                              Sentencing Guidelines Calculations

      14.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below the

guideline range. The parties further understand and agree that if the defendant has provided false,

incomplete, or inaccurate information that affects the calculations, the government is not bound to

make the recommendations contained in this agreement.

                                        Relevant Conduct

      15.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating the



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sentencing guidelines range, even if the relevant conduct is not the subject of the offense to which

the defendant is pleading guilty.

                                        Base Offense Level

      16.      The parties agree to recommend to the sentencing court that the applicable base

offense level for the offense charged in Count Nine is 18 under Sentencing Guidelines Manual §

2K2.1(a)(5).

                                Specific Offense Characteristics

      17.      The parties agree to recommend to the sentencing court that the following
enhancements are applicable to the base offense level for the offense charged in Count Nine: a 2-

level increase for multiple firearms under Sentencing Guidelines Manual § 2K2.1(b)(1)(A) and and

a 2-level increase for transferring a firearm knowing that such conduct would result in the receipt of

the firearm by an individual who intended to dispose of the firearm unlawfully under §

2K2.1(b)(5)(B)(i)(II). The parties acknowledge and understand that the government will

recommend a 4-level increase because the firearm was used or possessed in connection with

another felony offense under Sentencing Guidelines Manual § 2K2.1(b)(6)(B) and that the defense

will not join in that recommendation.


                                    Acceptance of Responsibility

      18.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the defendant

exhibits conduct consistent with the acceptance of responsibility. In addition, if the court

determines at the time of sentencing that the defendant is entitled to the two-level reduction under

§ 3E1.1(a), the government agrees to make a motion recommending an additional one-level




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decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant timely

notified authorities of his intention to enter a plea of guilty.




                                   Sentencing Recommendations

      19.       Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      20.       Both parties reserve the right to make any recommendation regarding any and all

factors pertinent to the determination of the sentencing guideline range; the fine to be imposed;

the length of supervised release and the terms and conditions of the release; the defendant’s

custodial status pending the sentencing; and any other matters not specifically addressed by this

agreement.

      21.       The government agrees to recommend a sentence within the applicable sentencing

guideline range, as determined by the court.

                              Court’s Determinations at Sentencing

      22.       The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United States

Probation Office will make its own recommendations to the sentencing court. The sentencing court

will make its own determinations regarding any and all issues relating to the imposition of sentence

and may impose any sentence authorized by law up to the maximum penalties set forth in

paragraph 6 above. The parties further understand that the sentencing court will be guided by the



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sentencing guidelines but will not be bound by the sentencing guidelines and may impose a

reasonable sentence above or below the calculated guideline range.

      23.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                     FINANCIAL MATTERS

      24.      The defendant acknowledges and understands that any and all financial obligations

imposed by the sentencing court are due and payable in full upon entry of the judgment of

conviction.   The defendant further understands that any payment schedule imposed by the

sentencing court shall be the minimum the defendant is expected to pay and that the government’s

collection of any and all court imposed financial obligations is not limited to the payment schedule.

The defendant agrees not to request any delay or stay in payment of any and all financial

obligations. If the defendant is incarcerated, the defendant agrees to participate in the Bureau of

Prisons’ Inmate Financial Responsibility Program, regardless of whether the court specifically

directs participation or imposes a schedule of payments.

                                                Fine

      25.      The parties agree to recommend to the sentencing court that no fine be imposed.

                                        Special Assessment

      26.      The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.

                                             Forfeiture

      27.      The defendant agrees that all properties listed in the indictment constitute the

proceeds of the offense to which he is pleading guilty, or were used to facilitate such offense. The

defendant agrees to the forfeiture of these properties and to the immediate entry of a preliminary

order of forfeiture. The defendant agrees that he has an interest in each of the listed properties. The
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parties acknowledge and understand that the government reserves the right to proceed against

assets not identified in this agreement. The parties agree that the forfeiture of the defendant’s

properties as described in the indictment will be determined by the court prior to or at the time of

sentencing.

                            DEFENDANT’S WAIVER OF RIGHTS

      28.        In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government and the judge all
                    must agree that the trial be conducted by the judge without a jury.

            b.      If the trial is a jury trial, the jury would be composed of twelve citizens selected
                    at random. The defendant and his attorney would have a say in who the jurors
                    would be by removing prospective jurors for cause where actual bias or other
                    disqualification is shown, or without cause by exercising peremptory
                    challenges. The jury would have to agree unanimously before it could return a
                    verdict of guilty. The court would instruct the jury that the defendant is
                    presumed innocent until such time, if ever, as the government establishes guilt
                    by competent evidence to the satisfaction of the jury beyond a reasonable doubt.

            c.      If the trial is held by the judge without a jury, the judge would find the facts and
                    determine, after hearing all of the evidence, whether or not he was persuaded
                    of defendant’s guilt beyond a reasonable doubt.

            d.      At such trial, whether by a judge or a jury, the government would be required
                    to present witnesses and other evidence against the defendant. The defendant
                    would be able to confront witnesses upon whose testimony the government is
                    relying to obtain a conviction and he would have the right to cross-examine
                    those witnesses. In turn the defendant could, but is not obligated to, present
                    witnesses and other evidence on his own behalf. The defendant would be
                    entitled to compulsory process to call witnesses.

            e.      At such trial, defendant would have a privilege against self-incrimination so
                    that he could decline to testify and no inference of guilt could be drawn from
                    his refusal to testify. If defendant desired to do so, he could testify on his own
                    behalf.
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      29.      The defendant acknowledges and understands that by pleading guilty he is waiving

all the rights set forth above. The defendant further acknowledges the fact that his attorney has

explained these rights to him and the consequences of his waiver of these rights. The defendant

further acknowledges that as a part of the guilty plea hearing, the court may question the defendant

under oath, on the record, and in the presence of counsel about the offense to which the defendant

intends to plead guilty. The defendant further understands that the defendant’s answers may later

be used against the defendant in a prosecution for perjury or false statement.

      30.      The defendant acknowledges and understands that he will be adjudicated guilty of

the offense to which he will plead guilty and thereby may be deprived of certain rights, including

but not limited to the right to vote, to hold public office, to serve on a jury, to possess firearms,

and to be employed by a federally insured financial institution.

      31.      The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant’s guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

      32.      Based on the government’s concessions in this agreement, the defendant knowingly

and voluntarily waives his right to appeal his conviction or sentence in this case and further waives

his right to challenge his conviction or sentence in any post-conviction proceeding, including but

not limited to a motion pursuant to 28 U.S.C. § 2255. As used in this paragraph, the term

“sentence” means any term of imprisonment, term of supervised release, term of probation,

supervised release condition, fine, forfeiture order, and restitution order. The defendant’s waiver

of appeal and post-conviction challenges includes the waiver of any claim that (1) the statutes or

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Sentencing Guidelines under which the defendant is convicted or sentenced are unconstitutional,

and (2) the conduct to which the defendant has admitted does not fall within the scope of the

statutes or Sentencing Guidelines. This waiver does not extend to an appeal or post-conviction

motion based on (1) any punishment in excess of the statutory maximum, (2) the sentencing court’s

reliance on any constitutionally impermissible factor, such as race, religion, or sex, (3) ineffective

assistance of counsel in connection with the negotiation of the plea agreement or sentencing, or

(4) a claim that the plea agreement was entered involuntarily.

                             Further Civil or Administrative Action

      33.      The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict rights

and opportunities of the defendant to contract with or receive assistance, loans, and benefits from

United States government agencies.

                                     GENERAL MATTERS

      34.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      35.      The parties acknowledge, understand, and agree that this plea agreement will be

filed and become part of the public record in this case.

      36.      The parties acknowledge, understand, and agree that the United States Attorney’s

office is free to notify any local, state, or federal agency of the defendant’s conviction.



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      37.         The defendant understands that pursuant to the Victim and Witness Protection Act,

the Justice for All Act, and regulations promulgated thereto by the Attorney General of the United

States, the victim of a crime may make a statement describing the impact of the offense on the

victim and further may make a recommendation regarding the sentence to be imposed. The

defendant acknowledges and understands that comments and recommendations by a victim may

be different from those of the parties to this agreement.

              EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT

      38.         The defendant acknowledges and understands if he violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government’s

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant’s conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and his attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that he continues to be subject to the terms of the

proffer letter.

                         VOLUNTARINESS OF DEFENDANT’S PLEA

      39.         The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and agrees
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                                         ATTACHMENT A

        Had this case proceeded to trial, the United States would have proven the following facts
beyond a reasonable doubt. These facts are based upon information provided by confidential
informants, the anticipated testimony of cooperating sources and law enforcement agents,
electronic surveillance, records obtained via grand jury subpoenas, and physical and electronic
evidence seized throughout the investigation of the conspiracy. The information is provided for
the purpose of setting forth a factual basis for the defendant’s guilty plea. It is not a full recitation
of the defendant’s knowledge of, or participation in, this offense.

                                              Overview

        Beginning in July 2022, Drug Enforcement Agency (DEA), the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) and the Waukesha Metro Drug Unit, hereinafter referred
to as “case agents,” began investigating an armed drug trafficking organization (ADTO) operating
in the Eastern District of Wisconsin (WI) which involved Azjuan K. MERIWETHER, Dontrell Q.
FRANKLIN, Savanna J. WILLIAMS, Daniel RODRIGUEZ-PEREZ, Brandon M. NICHOLS,
Tasha M. BROWN, Laron N. KING, Shannone D. BROWN, Jaiden HENNING, and others.
Through confidential sources, undercover controlled buys, physical surveillance, electronic
surveillance, and record jail calls case agents learned the ADTO sold fentanyl, purported to be
heroin; methamphetamine; cocaine; ghost guns; and switches. Case agents also determined that
members of the ADTO used multiple locations and multiple vehicles, including rental vehicles, to
store and distribute their narcotics and firearms throughout the Eastern District of Wisconsin.

        Starting on July 5, 2022, a confidential source (CS) and an undercover agent (UC)
engaged in 18 controlled buys with members of the ADTO. Between July 2022 and March
2023, CS and/or UC obtained approximately 790 grams of heroin, which also field tested
positive for fentanyl; 240 grams of methamphetamine; and 155 grams of cocaine from the ADTO
during the controlled buys. Additionally, during 10 of the controlled buys, the UC obtained
approximately 20 firearms from the ADTO. Some of the firearms were installed with a
Glock auto-sear device (switch), which converts a semi-automatic firearm into a full-automatic
firearm. Other times, the UC purchased a standalone Glock auto-sear device, i.e., a machinegun
conversion device. The UC obtained approximately nine Glock auto-sear devices from the
ADTO. ATF test fired the Glock auto-sear devices and determined that they converted a semi-
automatic firearm into a fully automatic firearm, meaning one pull of a firearm trigger caused
the firearm to fire multiple bullets.

        Between August 7, 2022, and October 29, 2022, MERIWETHER’s social media account
(thereal_chefdon92) and ion.wanna.kickit, identified as HENNING’s social media account,
communicated about “switches,” which are also known as machinegun conversion devices. These
devices are subject to the rules and regulations of the National Firearms Act (NFA). During
MERIWETHER and HENNING’s conversations, they routinely referred to Glock auto-sear
devices as “buttons.”




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        HENNING’s publicly viewable social media profile had photos of HENNING with cash
and firearms. Figures 1 to 6 were posted on September 7, 2022. The photos appear to be behind
XXXX/XXXX North 50th Street, Milwaukee, WI. Figures 5 and 6 depict a black male possessing
what appears to be a Glock handgun and five separate Glock handgun firearm boxes.




       (Figure 1)                       (Figure 2)                              (Figure 3)




        (Figure 4)                        (Figure 5)                           (Figure 6)


       a.  September 12, 2022 Transaction with MERIWETHER, FRANKLIN, and
       HENNING –– Counts Eight and Nine

       On September 11, 2022, MERIWETHER and HENNING discussed on Instagram the
purchase of a Glock auto-sear device (button or switch). They negotiated a price and
MERIWETHER asked, “If it’s the metal one.” HENNING replied “350 n it’s metal.” Case agents
are aware that individuals are willing to pay top price for the metal conversion devices as the metal
conversion devices hold up to the wear and tear of firearms compared to 3D printed plastic
machinegun conversion devices. On September 12, 2022 (the date of the undercover purchase),
MERIWETHER began communicating with HENNING via Instagram messenger to arrange the

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transaction for the Glock auto-sear device. MERIWETHER arrived at HENNING’s residence
(XXXX N. 50th Street, Milwaukee, WI) to obtain the Glock auto-sear device from HENNING at
approximately 8:22 a.m. That same day, at approximately 8:42 a.m., MERIWETHER stated,
“Even if u got more shit today and tomorrow lmk (let me know) cause he gone be in town today.”
The UC told MERIWETHER that he would be in town that day. Approximately three hours later,
the UC purchased a metal Glock auto-sear device from MERIWETHER.

        On September 12, 2022, CS and the UC arranged with MERIWETHER to purchase 25.9
grams of heroin (which later field tested positive for fentanyl), four firearms, and a Glock auto-
sear switch for a total of $5,250. The undercover buy took place at XXX North 24th Street,
Milwaukee, Wisconsin, which is FRANKLIN’s residence. During the transaction,
MERIWETHER entered the UC’s undercover vehicle and completed a sale of four firearms and a
Glock auto-sear switch with the UC. The UC purchased the following firearms and a Glock switch
during the transaction in exchange for $4,000:

                      i.   NAK9 (Draco), 9 MM, Century Arms with a drum
                           magazine, with serial number RON216548;
                    ii.    RF-15, multi caliber, Radical Firearms, LLC with serial
                           number 21-105263;
                    iii.   PT111 Millennium G2, 9 mm, Taurus with serial number
                           TKM53277 with an extended magazine; and
                    iv.    Bodyguard, 38 special, Smith & Wesson with serial
                           number CPX2831.

        HENNING acknowledges that he provided MERIWETHER with this auto-sear
device/switch.   HENNING further admits that he knowingly possessed this auto-sear
device/switch on September 12, 2022 and admits that he knew this device was a machinegun. He
further admits and agrees that the auto-sear device/switch that he possessed and transferred to
MERIWETHER is a machinegun insofar as it is meets this definition:

The term “machinegun” means any weapon which shoots, is designed to shoot, or can be readily
restored to shoot, automatically more than one shot, without manual reloading, by a single function
of the trigger. The term shall also include the frame or receiver of any such weapon, any part
designed and intended solely and exclusively, or combination of parts designed and intended, for
use in converting a weapon into a machinegun, and any combination of parts from which
a machinegun can be assembled if such parts are in the possession or under the control of a person.
18 U.S.C. § 921(a)(23) and 26 U.S.C. § 5845(b).

       During the same transaction, MERIWETHER completed the sale of 25.9 grams of heroin
to CS in exchange for $1,250. MERIWETHER was observed by CS to possess “half a brick” of
heroin during the transaction (approximately 500 grams).      FRANKLIN was inside
MERIWETHER’s vehicle. MERIWETHER informed CS during the transaction that this location


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is where his “cousin” (FRANKLIN) resided, and MERIWETHER was heard confirming the
address when asked by CS where he (MERIWETHER) was just prior to the transaction.
MERIWETHER also discussed posting bail for FRANKLIN when he was arrested with a firearm.

        During this transaction, MERIWETHER and UC discussed whether the firearms being sold
were previously used in other criminal offenses. MERIWETHER stated that the only firearm he
knew to be “legal” was the AR-style rifle he had just sold. UC asked if any of the firearms were
“valid” (meaning not stolen or used in a shooting) and MERIWETHER replied, “The only one I
don’t know about is the revolver…the two handguns. But I know both the chops [meaning the AK-
style and AR-style firearms] is good. I got the handgun, I got the handgun from the same dude I
got the nine, the Draco-nine from. So it might be good as well, but you just never know with
handguns.”

        MERIWETHER called the UC following the transaction and discussed additional firearms
that FRANKLIN had for sale. Based on the investigation into the ADTO, case agents identified
that Jaiden HENNING provided MERIWETHER with the Glock auto-sear device, described
above.

        Jaiden HENNING admits that he knowingly transferred this machinegun (auto-sear
device/switch) to another person (MERIWETHER), that this transfer was in or otherwise affecting
interstate commerce, and he knew that MERIWETHER’s possession or use of that machinegun
(auto-sear device/switch) constituted a state or federal felony.

       Specifically, Jaiden HENNING understood that MERIWETHER intended to resell the
machinegun, despite the MERIWETHER not being a licensed manufacturer or dealer of firearms,
which itself is a violation of 18 U.S.C. § 922(a)(1)(A), and the defendant knew that it is unlawful
for anyone, including MERIWETHER, to possess the machinegun (auto-sear device) which is a
violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).

       b.      October 5, 2022 Transaction with MERIWETHER & Sourced by HENNING

       On October 5, 2022, UC purchased two firearms from MERIWETHER (a .40 Caliber
Glock, model 22 (serial number BVK7876) 1 with Glock auto-sear device attached and 14 rounds
of ammunition and a Multi Caliber Franklin Armory, model pistol (serial number P-17412) with
10 rounds of ammunition). Case agents’ review of the Instagram messaging thread between
MERIWETHER and HENNING indicated MERIWETHER had obtained these firearms from
HENNING around September 29, 2022.



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 This firearm appeared to be connected to two other incidents regarding shots fired on March 22,
2022 and April 18, 2022.
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       HENNING acknowledges that he provided MERIWETHER with these two firearms, the
ammunition, and the auto-sear device. He further admits and agrees that the auto-sear
device/switch that he possessed and transferred to MERIWETHER is a machinegun. HENNING
admits that he knowingly transferred this machinegun (auto-sear device/switch) and two firearms
to another person (MERIWETHER), that this transfer was in or otherwise affecting interstate
commerce, and he knew that MERIWETHER’s possession of that machinegun (auto-sear
device/switch) and two firearms constituted a state or federal felony.

        On September 21, 2022, MERIWETHER messaged HENNING: “Wat u got around.”
HENNING responded: “Shit rn (right now) it’s dry ima lyk (let you know).” On September 25,
2022, HENNING messaged MERIWETHER: “U still tryna gram sum?” MERIWETHER
responded: “Yeah imma be back Tuesday.” HENNING then stated: “Fs (for sure) Iaa (I’m going
to) have sum,” and also sent MERIWETHER a photograph of an AR-Pistol that matched the one
later purchased by UC. On September 27, 2022, HENNING and MERIWETHER discussed the
Glock firearm’s binary trigger and “button” (Glock auto-sear device). HENNING and
MERIWETHER then discussed prices and eventually agreed to meet and sell the firearms.
MERIWETHER did not have enough cash but offered to provide HENNING with “grits” of “b”
or “g” (grams of “boy” (heroin) or “girl” (cocaine)). When MERIWETHER is on his way to
HENNING’s residence he requested HENNING bring a “scat” (scale). This supports
MERIWETHER’s exchange of controlled substances for firearms.

c. October 19, 2022 Transaction
On October 14, 2022, HENNING sent MERIWETHER several Instagram messages,
explaining that HENNING obtained five Glock auto-sear devices that were available to be
purchased by MERIWETHER. HENNING informed MERIWETHER the price for each Glock
auto-sear device would be $400. On this same date, approximately 19 minutes after HENNING
messaged MERIWETHER, MERIWETHER contacted UC about purchasing switches, citing
that MERIWETHER’s source had just obtained multiple switches. HENNING admits that he
commuicated with MERIWETHER concerning these switches and made efforts to acquire them,
but never obtained them and made up a story for MERIWETHER to explain why he did not have
them.
d. November 16, 2022 Transaction with MERIWETHER and HENNING–Counts
     Fifteen and Sixteen

        On September 12, 2022, HENNING, messaged MERIWETHER “I can build them mfs for
$400 tho, I got the parts alr I just gotta go grab a lower, I got the upper ready.” Based on case
agents training and experience, HENNING’s statements are consistent with HENNING discussing
the manufacturing of an AR-15 style firearm. The “lower” part of an AR-15 style platform is
classified as the firearm and can be purchased from a federal firearms licensed dealer (FFL). The
“upper” can be purchased online and wherever people sell gun parts. Assembling a lower and
upper complete an AR-15 style platform rifle. Based on training and experience, case agents are
aware people who are able to legally purchase firearms, will buy the lower from an FFL. The
remaining parts will then be purchased separately to assemble a fully functioning rifle.
       On November 16, 2022, MERIWETHER met CS and the UC at North 55th and West Keefe
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Avenue, Milwaukee, WI. MERIWETHER approached the UC’s vehicle and entered via the rear
driver’s side door. MERIWETHER had a large black duffle style bag with him and completed the
transactions with the UC and CS. MERIWETHER provided 27.6 grams of heroin (later field tested
positive for fentanyl) to CS. CS provided MERIWETHER with $5,000 to cover the purchase of
the 27.6 grams of heroin and as a buy-in to a “brick of heroin” (approximately 1,000 grams).
MERIWETHER provided the UC with a firearm, later identified as an AM-15, Anderson
Manufacturing Pistol with serial number 22019470, with 26 rounds of ammunition. UC provided
$1500 to MERIWETHER in exchange for the AM-15.

       Prior to meeting, MERIWETHER discussed the possible sale of a “ghost” gun with UC.
MERIWETHER stated the “ghost” gun was currently possessed by his cousin. Case agents know
through training and experience that “ghost guns” are privately manufactured firearms, often
assembled from pre-made kits, that do not possess serial numbers or other identifying markings,
which make the firearms difficult to trace back to an original purchaser/manufacturer.
MERIWETHER told UC that his “cousin” just “caught a ghost case,” but wanted to keep this new
“ghost” gun. After this controlled buy, case agents surveilled MERIWETHER to the address of
XXXX North 55th Street, Milwaukee, WI. Case agents observed HENNING exit
MERIWETHER’s vehicle and walk to the side door of the duplex. Case agents learned that
HENNING was providing MERIWETHER with a firearm on November 16, 2022.

     The firearm purchased from MERIWETHER was originally obtained by Trenell
HENNING, Jaiden HENNING’s father, just six days prior to this transaction.

       Case agents obtained ATF Form 4473 from Fleet Farm located at NXX WXXXXX County
Line Road, Germantown, Wisconsin detailing the purchase of one Anderson Manufacturing
receiver, model AM-15, bearing serial number 22019470. On November 4, 2022, Trenell
HENNING completed the paperwork for the firearm. Initially, Trenell HENNING was delayed by
the FBI NICS system. Trenell HENNING then obtained the firearm from Fleet Farm on November
10, 2022. On the Fleet Farm Firearms order form, Trenell HENNING listed his phone number as
414-XXX-XXX5. Under question 11a which stated “Are you the actual transferee/buyer of the
firearm(s) listed?” Trenell HENNING marked “yes”. Six days later this firearm was sold to UC
by Meriwether with Jaiden HENNING in MERIWETHER’s vehicle.

        Jaiden HENNING admits that he knowingly transferred this firearm to another person
(MERIWETHER), that this transfer was in or otherwise affecting interstate commerce, and he
knew that MERIWETHER’s possession, use, or carrying of that firearm would constituted a state
or federal felony.

        Case agents reviewed call detail records between Jaiden HENNING (414-XXX-XXXX5)
and MERIWETHER (414-XXX-XXX2). Between February 19, 2022 and MERIWETHER’s
arrest in December, Jaiden HENNING and MERIWETHER were in contact 19 times. Those
contacts included three calls between Meriwether and Jaiden HENNING prior to the October 5,
2022 controlled firearm purchase, two calls prior to November 15, 2022, and four calls on
November 16, 2022, the day of the controlled firearm purchase.




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